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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
In re                                                               Chapter 11

THIRTY WOODHOLLOW CT., INC.,                                        Case No.

                                    Debtor.
---------------------------------------------------------------X
                                  LIQUIDATING CHAPTER 11 PLAN

                                              INTRODUCTION

                THIRTY WOODHOLLOW CT., INC., (the "Debtor"), the debtor and debtor-in-
possession in this Chapter 11 case, by its attorneys,
Phillips, Artura & Cox, Esqs , hereby submits and proposes, pursuant to 11 U.S.C. § 1121 et.
seq., the following Liquidating Chapter 11 Plan (the "Plan"). Reference is made to the
Disclosure Statement of the Debtor (the "Disclosure Statement"), dated June 19th, 2018, for a
discussion of the Debtor's history, business, results of operations, financial information, and for a
summary and analysis of the Plan.

           ALL CREDITORS SHOULD REVIEW THE DISCLOSURE STATEMENT
CAREFULLY BEFORE MAKING ANY DETERMINATIONS WITH RESPECT TO
THE PLAN. THE DEBTOR BELIEVES THAT THE TREATMENT OF CREDITORS
UNDER THE PLAN CONTEMPLATES A MORE FAVORABLE TREATMENT FOR
CREDITORS THAN WOULD BE AVAILABLE UNDER ANY ALTERNATIVE PLAN
OR IN A CHAPTER 7 LIQUIDATION.

          ACCORDINGLY, THE DEBTOR BELIEVES THAT CONFIRMATION
OF THE PLAN IS IN THE BEST INTEREST OF CREDITORS AND RECOMMENDS
THAT CREDITORS ACCEPT THE PLAN.

                                                  ARTICLE I

1.      DEFINITIONS

                 The following terms, when used in the Plan, shall, unless the context otherwise

requires, have the following meanings, respectively:

                 1.1      Administrative Claim: Any cost or expense of administration of the

Chapter 11 Case allowed under Section 503(b) of the Bankruptcy Code, including without

limitation, any actual and necessary expenses of operating the business of the Debtor, and all


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allowances of compensation or reimbursement of expenses for legal or other professional

services to the extent allowed by the Bankruptcy Court under Sections 327, 330, 331 and 503 of

the Bankruptcy Code, and all fees and charges assessed against the Debtor’s Estate pursuant to

Section 1930 of Title 28 of the United States Code, and that are entitled to priority under Section

507(a) of the Bankruptcy Code.

               1.3Allowed: With respect to a Claim, “Allowed” means any claim or portion of

a claim (a) which is scheduled by the Debtor pursuant to Sections 521(1) and 1106(a)(2) of the

Bankruptcy Code (other than a Disputed Claim); or (b) proof of which has been timely filed with

the Bankruptcy Court, pursuant to Section 501(a) of the Bankruptcy Code, on or before the date

designated by the Court as the last date for filing Proofs of Claim, and with respect to which no

objection to the allowance thereof has been interposed within the applicable period of limitation

fixed by the Bankruptcy Code, Bankruptcy Rules, by an order of the Bankruptcy Court, or by

this Plan; or (c) which, after objection thereto, has been allowed in whole or in part by a Final

order.

               1.4      Bankruptcy Code: The Bankruptcy Reform Act of 1978 (11 U.S.C. § 101,

et. seq.), as amended from time to time and made applicable to this Chapter 11 Case.

               1.5      Bankruptcy Court: The United States Bankruptcy Court for the Eastern

District of New York.

               1.6      Bankruptcy Rules: The Federal Rules of Bankruptcy Procedure, as

amended from time to time and made applicable to this Chapter 11 Case.

               1.7      Bar Date:          2018 for non-governmental units, or

2018 for governmental units.




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                1.8     Cash Reserve: The amount of $                    to be reserved by Debtor

for the payment of post-Effective Date Administrative Claims, including Professionals’ fees and

expenses and amounts, if any, due the UST for such period

                1.9     Chapter 11 Case: The Chapter 11 Case of the Debtor commenced on the

Filing Date by the filing of the voluntary petition for relief.

                1.10    Claim: A right to payment as defined under Section 101(5) of the

Bankruptcy Code, including claims filed as proofs of claim and/or scheduled in the Debtor’s

Chapter 11 Case.

                1.11    Confirmation Hearing: The hearing where the Bankruptcy Court

considers approval of the Plan and entry of the confirmation Order.

                1.12    Confirmation Order: The entry by the Bankruptcy Court of an order

confirming the Plan in accordance with the Bankruptcy Code.

                1.13    Consummation of the Plan: The accomplishment of all things necessary

for the entry of a Final Decree in the Chapter 11 Case.

                1.14    Creditor: An entity holding a Claim, as of the Filing Date, against the

Debtor.

                1.15    Debtor: THIRTY WOODHOLLOW CT., INC.,.

                1.16    DIP Account: Debtor’s debtor-in-possession account at Capital One

Bank.

                1.17    Disbursing Agent: Debtor or other Person(s) as may be designated by

the Debtor or the Bankruptcy Court to act as disbursing agent(s) under the Plan.

                1.18    Disclosure Statement: The Disclosure Statement filed by Debtor on June

19th, 2018

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               1.19    Effective Date: The date that is thirty (30) days after the Confirmation

Order becomes Final.

               1.20    Estate: The Debtor’s Chapter 11 bankruptcy estate.

               1.21    Filing Date: June 19, 2018

               1.22    Final: Means, with respect to an order of the Bankruptcy Court, that the

time to appeal or seek review of said order has expired and no such appeal or review is pending

or if such order has been appealed, the date on which it has been affirmed on appeal or other

review without material modification and the time for further appeal or review has expired.

               1.23    Final Decree: The order or decree of the Bankruptcy Court entered,

pursuant to Bankruptcy Rule 3022, closing the Chapter 11 Case.

               1.24    General Unsecured Claims: Any Claim that is not an Administrative

Claim, Priority Claim, or a Secured Claim. Interest accrued after the Filing Date shall not be a

part of any Allowed Unsecured Claim.

               1.25    Impaired: With respect to a class of Claims or Interests, such class is

impaired under the Amended Plan, pursuant to Section 1124 of the Bankruptcy Code, because

with respect to such class of Claims or Interests, the Plan does not:

               a.      leave unaltered the legal, equitable and contractual rights to which

such Claim or Interest entitles the holder of such Claim or Interest; or

               b.      reinstate the maturity of such Claim or Interest as such maturity existed

before such default; or

               c.      compensate the holder of such claim or interest for any damages incurred

as a result of any reasonable reliance by such holder on such contractual provision or such

applicable law; or

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               d.      if such claim or such interest arises from any failure to perform a non-

monetary obligation, other than a default arising from failure to operate a non-residential real

property lease subject to section 365(b)(1)(A), compensate the holder of such claim or such

interest (other than the debtor or an insider) for any pecuniary loss incurred by such holder as a

result of such failure; and

               e.      does not otherwise alter the legal, equitable, or contractual rights to

which such claim or interest entitles the holder of such claim or interest.

               1.26    Interest: An ownership interest in the Debtor as evidenced by an equity

security, as such term is defined in Section 101(16) of the Bankruptcy Code.

               1.27    IRS: The United States of America Internal Revenue Service.

               1.28    NYSDTF: The New York State Department of Taxation and Finance.

               1.29    Person: The meaning set forth in Section 101(41) of the Bankruptcy

Code.

               1.30    Plan: This Liquidating Chapter 11 Plan, as it may be modified or

amended from time to time as and to the extent permitted by the Bankruptcy Code.

               1.31    Priority Claim: All or that portion of an Allowed Claim entitled to

priority under Sections 507(a)(4), (5), (7), and (8) of the Bankruptcy Code. Except as may be

Allowed by the Bankruptcy Court in the case of an Allowed Priority Claim under Section

507(a)(8) of the Bankruptcy Code, any interest on such Claim that accrued after the Filing Date,

shall not be part of the Allowed Priority Claim.

               1.32    Professionals: The attorneys, accountants, appraisers, or other

professionals retained by Debtor in the Chapter 11 Case, by orders of the Bankruptcy Court,

pursuant to Sections 327(a) or 1103 of the Bankruptcy Code.

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               1.33     Pro Rata: Proportionally according to the total amount of Allowed Claims

or Allowed Interests in a particular Class.

               1.34     Real Property: The real property located at 499 Winding Road, Old

Bethpage, New York, which was sold by Debtor pursuant to Orders of the Bankruptcy Court.

               1.35     Schedules: Information filed by the Debtor with the Bankruptcy Court in

the Chapter 11 Cases, pursuant to Section 521(a)(1) of the Bankruptcy Code.

               1.36     Secured Claim: All of that portion of any Allowed Claim that is secured

by a valid enforceable lien on the property of the Debtor, to the extent of the value of such

property, as determined by agreement between the Debtor and the holder of such secured claim

or by the Bankruptcy Court by a final order pursuant to Section 506 of the Bankruptcy Code.

               1.37     Unsecured Claim: any Claim that is not an Administrative Claim, Priority

Claim or Secured Claim.

               1.38     UST: The United States Trustee for the region including the Eastern

District of New York.

               1.39     UST Fees: Fees due to the UST in the Chapter 11 Cases pursuant to 28

U.S.C. § 1930(a)(6).

2.     INTERPRETATION, RULES OF CONSTRUCTION,
       COMPUTATION OF TIME AND CHOICE OF LAW

               2.1      The provisions of the Plan shall control over any descriptions thereof

contained in the Disclosure Statement. Where the Plan refers to any contract, instrument, or

other agreement or document created in connection with the Plan, the provisions of such

contract, instrument, or other agreement or document shall control over any inconsistency with

the terms of the Plan and the Plan will be interpreted to avoid any inconsistencies with the


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provisions of such contract, instrument, or other agreement or document.

                2.2      Any term used in the Plan that is not defined in the Plan but that is used in

the Bankruptcy Code or the Bankruptcy Rules has the meaning assigned to that term in, and shall

be construed in accordance with the rules of construction under the Bankruptcy Code or the

Bankruptcy Rules. Without limiting the foregoing, the rules of construction set forth in

Bankruptcy Code Section 102 shall apply.

                2.3      The words "herein", "hereof", "hereto", "hereunder" and others of similar

import refer to the Plan as a whole and not to any particular article, section, subsection, or clause

contained in the Plan.

                2.4      Unless specified otherwise in a particular reference, all references in the

Plan to articles, sections and exhibits are references to articles, sections and exhibits of or to the

Plan.

                2.5      Any reference in the Plan to an existing document or exhibit means such

document or exhibit as it may have been amended, restated, modified, or supplemented as of the

Effective Date.

                2.6      Captions and headings to articles and sections in the Plan are inserted for

convenience of reference only and shall neither constitute a part of the Plan nor in any way affect

the interpretation of any provision hereof.

                2.7      Whenever from the context it is appropriate, each term stated in either the

singular or the plural shall include both the singular and the plural.

                2.8      In computing any period of time prescribed or allowed by the Plan, the

provisions of Bankruptcy Rule 9006(a) shall apply.

                2.9      All exhibits to the Disclosure Statement are incorporated into the


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Disclosure Statement and shall be deemed to be included in the Plan, regardless of when filed.

               2.10    Except to the extent that the Bankruptcy Code is applicable, the rights and

obligations arising under the Plan shall be governed by, and construed and enforced in

accordance with, the laws of the State of New York.

3.     CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

               3.1     Classification: The Plan divides all claims and interests into the

following Classes, plus Administrative Claims and Priority Claims:

               3.2     Administrative Claims: Administrative Claims consist of the Claims of:

(i) the Professionals duly retained by the Debtor, for legal and accounting services performed

during the Chapter 11 case in the anticipated amount of approximately $                        ,

inclusive of expenses; (ii) the Office of the United States Trustee (“UST”) under 28 U.S.C.

1930(a)(6); (iii) any other administrative expense allowed or allowable under Section 503 of the

Bankruptcy Code. Each holder of an Allowed Administrative Claim as of the Effective Date

shall receive from the Debtor (i) cash in an amount equal to the amount of such Allowed

Administrative Claim as soon as practical on or after (i) the confirmation date, (ii) upon such

terms as may exist due to the ordinary course of business of the Debtor, or (iii) as may be agreed

to by the claimants and the Debtor, or (iv) as may be ordered by the Bankruptcy Court.

               3.3     Priority Claims - Priority claims, if any, will be paid in full on the after

liquidation of the home. As a result, the Priority Claims are not impaired and, pursuant to

Section 1126(f) of the Bankruptcy Code, is not entitled to vote.

               3.4     Class I (Secured Claim) - Consists of the Allowed Secured Claim to be

filed by the Village of Muttontown in an amount to be determined when they file their Proof of

Claim and any other timely filed secured claim. Subsequent to the closing on the sale of the


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Real Property, the total outstanding balance due Village of Muttontown, as well as additional

accrued real property taxes due the Town of Oyster Bay, will be paid in full from the sale

proceeds. As Class I will be paid in full, it is not impaired and, pursuant to Section 1126(f) of

the Bankruptcy Code, is not entitled to vote.

               3.5     Class II (Unsecured Claims) - Consists of all timely filed and allowed

General Unsecured Claims against Debtor, if any. As Class II will be paid in full, it is not

impaired and, pursuant to Section 1126(f) of the Bankruptcy Code, is not entitled to vote.

               3.6     Class Acceptance Requirement - A Class of Claims shall have accepted

the Plan if it is accepted by at least two-thirds (2/3) an amount and more than one-half (½) in

number of the Allowed Claims in such Class that have voted on the Plan.

4.     FUNDING OF THE PLAN AND CONDITIONS PRECEDENT

               4.1     Funding of the Plan

       The Plan of liquidation will be funded from the Net Sale Proceeds from the sale of the

debtors real property at 30 Woodhollow Court, Syosset, New York and anticipated to be

approximately $1,500,000. A broker will be retained and closing will occur no later than

December 30, 2018. A Cash Reserve will be maintained to cover potential post-confirmation

administrative expenses and income taxes.

5.     PROVISIONS CONCERNING DISTRIBUTIONS

               5.1     The Disbursing Agent

       The Debtor and such other Person(s) as may be approved by the Debtor, or the

Bankruptcy Court, shall act as Disbursing Agent(s) under the Plan. Any such Disbursing Agent

may, with the prior approval of the Debtor, employ or contract with other Persons to assist in or

to perform the distributions required.


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               5.2     Cash Payments

       Cash payments made pursuant to the Plan will be in United States dollars by checks

drawn on a domestic bank selected by the Debtor or Debtor’s counsel, or by wire transfer from a

domestic bank, at the option of the Debtor.

               5.3     Transmittal of Distributions

       All distributions shall be deemed made at the time such distribution is deposited in the

United States mail, postage prepaid. Except as otherwise agreed with the holder of an Allowed

Claim or Allowed Interest, any distribution on account of an Allowed Claim or Allowed Interest

shall be distributed by mail to (1) the latest mailing address filed of record for the party entitled

thereto or to a holder of a power of attorney designated by such holder to receive such

distributions or (ii) if no such mailing address has been so filed, the mailing address reflected on

the Debtor's schedules last amended, filed with the Court.

               5.4     Undeliverable Distributions

       If any distribution is returned to a Disbursing Agent as undeliverable, no further

distributions shall be made to the holder of the Allowed Claim or Allowed Interest on which

such distribution was made unless and until the Disbursing Agent or the Debtor is notified in

writing of such holder's then-current address. Undeliverable distributions shall remain in the

possession of the Disbursing Agent until such time as a distribution becomes deliverable or is

deemed canceled (as hereinafter provided). Any unclaimed distribution held by a Disbursing

Agent shall be accounted for separately, but the Disbursing Agent shall be under no duty to

invest any such unclaimed distribution in any manner. Any holder of an Allowed Claim or

Allowed Interest that does not present a Claim for an undeliverable distribution within one

hundred and twenty (120) days after the date upon which a distribution is first made available to


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such holder shall have its right to such distribution and all distributions thereafter due hereunder

discharged and shall be forever barred from asserting any such Claim or Interest against the

Debtor or its property or against any other Person or entity, including the Disbursing Agent. All

unclaimed or undistributed distributions shall, pursuant to Bankruptcy Code Section 347(b), be

the property of the Debtor and shall be treated as determined by the Debtor in its sole and

absolute discretion.

6.     TREATMENT OF EXECUTORY CONTRACTS AND LEASES

               6.1     Assumption of Executory Contracts and Leases Unless the

Confirmation Order shall otherwise provide, or the Debtor shall have filed a motion to reject any

executory contracts or unexpired leases on the Effective Date, the Debtor will assume all leases

and executory contracts. Notwithstanding the foregoing, Debtor is not currently a party to any

leases or executory contracts other than the month to month residential lease with its principal..

               6.2     Rejection Claims        A proof of claim for any claim arising from the

rejection of an executory contract shall be filed with the Clerk of the Court no later than thirty

(30) days after the date that an order is entered rejecting the executory contract. The claim

arising from the rejection of an executory contract for which a proof of claim is not filed within

such time shall be disallowed in its entirety, and shall be forever barred. The Debtor does not

intend to file a motion to reject any executory contracts or unexpired leases. Accordingly, the

Debtor does not anticipate that any rejection damage claims will be filed.

7.     PROCEDURE FOR RESOLVING DISPUTED CLAIMS

               7.1     Resolution of Disputed Claims        If, as of thirty (30) days after the

Effective Date, the Debtor has pending objections to claims, either filed as proofs of claim

and/or scheduled in the Debtor's case, no distributions otherwise due will be made by the Debtor

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to the holders of Disputed Claims. At the time of any distribution under the Plan, the Debtor

will reserve and will not distribute cash equal to the amount that the holders of Disputed Claims

at the time of such distribution would have received had the Disputed Claims been Allowed

Claims. After the Court has determined all Disputed Claims, the reserved amount will be

distributed in accordance with the provisions of the Plan or as otherwise agreed to by the parties.

At such time as a Disputed Claim becomes an Allowed Claim, the distribution that would have

been dispersed had the Disputed Claim been an Allowed Claim on the Effective Date will be

distributed by the Debtor, without interest, to the holder of such Allowed Claim promptly after

the Disputed Claim becomes an Allowed Claim pursuant to final and unappealable order of the

Court and shall not include any interest, regardless of when distribution thereon is made.

       Notwithstanding the foregoing, Debtor does not anticipate any objections to Claims

and there are currently no disputed Claims.

8.     LEGAL EFFECTS OF CONFIRMATION AND EFFECTIVENESS
       OF THE PLAN

               8.1     No Discharge Under the Plan

       Because the Plan contemplates the liquidation of Debtor’s assets, the Confirmation Order

shall not operate as a discharge pursuant to Section 1141(d)(1) of the Bankruptcy Code.



               8.2     Exculpation

       Neither the Debtor nor any of its respective directors, officers, shareholders, employees,

managers, partners, members, attorneys, consultants, advisors, representatives, assigns, and

agents (but solely in their capacities as such), shall have or incur any liability to any holder of a

Claim or Interest or any other Entity for any act taken or omitted to be taken in connection with,

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related to, or arising out of, the Chapter 11 Case, the formulation, preparation, dissemination,

implementation, confirmation, approval, or administration of the Plan or any compromises or

settlements contained or incorporated therein, the Disclosure Statement related thereto, the

property to be distributed under the Plan, or any contract, instrument, release, or other agreement

or document provided for or contemplated in connection with the consummation of the

transactions set forth in the Plan; provided, however, that the foregoing provisions of this

Section shall not affect the liability of (a) any Entity that otherwise would result from any such

act or omission to the extent that such act or omission is determined in a Final Order to have

constituted gross negligence or willful misconduct, including, without limitation, fraud and

criminal misconduct, (b) the professionals of the Debtor to their respective clients pursuant to

applicable codes of professional conduct, or (c) any of such Entities with respect to any act or

omission prior to the Petition Date, except as otherwise expressly set forth elsewhere in the Plan.

Any of the foregoing parties in all respect shall be entitled to rely upon the advice of counsel

with respect to their duties and responsibilities under the Plan.

               8.3     Solicitation of Acceptances in Good Faith

       The Debtor has, and upon Confirmation of the Plan will be deemed to have, solicited

acceptances of the Plan in good faith and in compliance with the applicable provisions of the

Bankruptcy Code. The Debtor (and each of its affiliates, agents, directors, officers, members,

employees, advisors, and attorneys if any ) has participated in good faith and in compliance with

the applicable provisions of the Bankruptcy Code and therefore has not been, and will not be,

liable at any time for the violation of any applicable law, rule, or regulation governing the

solicitation of acceptances or rejections of the Plan or the distributions made under the Plan.



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               8.4     Post-Effective Date Administrative Claims

       Administrative Claims incurred by the Debtor after the entry of a Final Decree, including

(without limitation) Claims for Professionals' fees and expenses incurred after such date, may be

paid by the Debtor from the Cash Reserve without application for or approval from the

Bankruptcy Court. With respect to Professionals’ fees and expenses, payment shall be made

upon the submission of invoices, by the Professional to the Debtor, within ten (10) days of

receipt of the invoices, without approval or review by the Court, unless an objection is raised. In

the event an objection is raised to the invoices of any Professional, then any such Professional

shall file an application with the Bankruptcy Court and will then only be paid upon entry of an

order of the Bankruptcy Court approving such fees and expenses. Notwithstanding the

foregoing, any Administrative Claims incurred by the Debtor after the Effective Date, but prior

to the entry of a Final Decree, may only be paid from the Cash Reserve upon application to and

approval from the Bankruptcy Court.

       The Debtor shall file and serve on the UST quarterly post-confirmation reports until the

entry of a final decree, dismissal or conversion of the case to Chapter 7. The Debtor shall also

pay all statutory fees due and payable, under 28 U.S.C. § 1930(a)(6), plus accrued interest under

31 U.S.C. § 3717, on all disbursements, including plan payments and disbursements inside and

outside of the ordinary course of business, until the entry of a final decree, dismissal or

conversion of the case to Chapter 7. Such fees may be paid from the Debtor’s cash reserve.

               8.5     Confirmation Injunction

       Effective on the Effective Date, all persons or entities who have held, hold, or may hold

Administrative Claims or Claims against or Interests in the Debtor are enjoined from taking any

of the following actions against or affecting the Debtor or assets of the Debtor with respect to

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such Claims, Interests, or Administrative Claims, except as otherwise set forth in the Plan and

other than actions brought to enforce any rights or obligations under the Plan or appeals, if any,

from the Confirmation Order or other pending appeals of orders of the Bankruptcy Court:

               (a)     commencing, conducting or continuing in any manner, directly or

                       indirectly,

any suit, action, arbitration, or other proceeding of any kind against the Debtor or the Debtor’s

assets;

               (b)     enforcing, levying, attaching, or otherwise recovering by any manner or

means, whether directly or indirectly, any judgment, award, decree, or order against the Debtor

or the assets of Debtor;

               (c)     creating, perfecting or otherwise enforcing in any manner, directly or

indirectly, any encumbrance of any kind against the Debtor or the assets of Debtor;

               (d)     asserting any setoff, right of subrogation, or recoupment of any kind,

                       directly

or indirectly, or against the Debtor or the assets of Debtor; and

               (e)     proceeding in any manner and any place whatsoever that does not

                       conform

to or comply with the provisions of the Plan.

9.        RETENTION OF JURISDICTION

               9.1     The Bankruptcy Court shall retain jurisdiction of the Chapter 11 Cases

pursuant to and for the purposes set forth in Section 1127(b) of the Bankruptcy Code and, inter

alia, for the following purposes:

               (i)     To determine additional objections, if any, to the allowance of Claims or
               Interests;
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               (ii)   To determine any and all applications for compensation and
               reimbursement of expenses for professional fees and any other fees and expenses
               authorized to be paid or reimburses under the Bankruptcy Code;

               (iii) To amend or modify the Plan to remedy any defect, cure any omission, or
               reconcile any inconsistency in the Plan or the Confirmation Order as may be
               necessary or advisable to carry out the purposes and intent of the Plan to the
               extent authorized by the Bankruptcy Code or the Bankruptcy Rules;

               (iv)    To determine any and all controversies and disputes arising under or
               related to the Plan;

               (v)     To construe and enforce any and all provisions of the Plan;

               (vi)   To determine any and all applications, motion, adversary proceedings and
               contested or litigated matters pending before the Bankruptcy Court concerning the
               administration of the Estate, or its property;

               (vii) To determine any and all controversies and disputes arising under or
               related to any settlement of an adversary proceeding or contested matter approved
               by the Bankruptcy Court, either before or after the Confirmation Date;

               (viii) To determine any and all applications, adversary proceedings, and
               contested or litigated matters, to set aside liens or encumbrances and to recover
               any preferences, transfers, assets or damages to which the Debtor may be entitled
               under applicable provisions of the Bankruptcy Code or other federal, state or local
               law within ninety days of the Effective Date; and

               (viii) To enter a final Order or decree in the Debtor's Chapter 11 Case upon
               notice to the Office of the United States Trustee.

10.            MISCELLANEOUS PROVISIONS

               10.1    Modification of the Plan      Subject to restrictions on modifications set

forth in Bankruptcy Code Section 1127, the Debtor reserve the right to alter, amend, revoke,

withdraw or modify the Plan before or after the Effective Date. No alterations, amendments, or

modifications may be made by any party except the Debtor. If the Plan is modified by the

Debtor such entity will give notice of the amendment or modification to the U.S. Trustee. A

hearing on such issues and any resolicitation of ballots may significantly delay Confirmation

and, consequently, significantly delay distributions under the Plan.
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       The provisions of the Plan are not severable unless such severance is agreed to by the

Debtor or the Debtor and such severance would constitute a permissible modification of the Plan

pursuant to Bankruptcy Code Section 1127.

               10.2    Payment Dates       If any payment or act under the Plan is required to be

made or falls on a date which shall be a Saturday, Sunday or legal holiday, then the making of

such payments or the performance of such act may be completed on the next succeeding

business day, but shall be deemed to have been completed as of the required date.

               10.3    Notices     Any notice under the Plan shall be in writing and

sent by certified mail, return receipt requested, postage pre-paid (with additional copy to the

Debtor); or by hand delivery, addressed as follows:

Attorneys for the Debtor:


Richard F. Artura, Esq.
Phillips, Artura & Cox, Esqs.
165 South Wellwood Avenue
Lindenhurst, NY 11757
Tel: (631) 226-2100 x305
Fax: (631) 226-2160
E-mail: rartura@pwqlaw.com

The Debtor:

THIRTY WOODHOLLOW CT., INC.,
C/o ANUPAM SHARMA, President
30 Woodhollow Court
Syosset, NY 11791

       All payments, notices and requests to Claimants, shall be sent to them at their last known

address. The Debtor or any Claimant may designate in writing any other address for purposes of

this section, which designation shall be effective upon receipt, which receipt shall be deemed to



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be on the third business day after the mailing. Any payment required under the Plan shall be

deemed to have been paid on the date when such payment is mailed.

               10.4    Severability Should any provision in the Plan be determined to be

unenforceable, such determination shall in no way limit or affect the enforceability or operative

effect of any and all other provisions of the Plan.

               10.5    Successors and Assigns         The rights and obligations of any entity named

or referred to in the Plan shall be binding upon and shall inure to the benefit of, the successors

and assigns of such entity.

               10.6    Reservation of Rights Neither the filing of this Plan, nor any statement

       provision
              or contained herein, shall be deemed to be an admission against interest. In the

               event that

the Effective Date does not occur, neither this Plan nor any statement contained herein may be

used or relied upon in any manner in any suit, action, proceeding, or controversy within or

outside of this Chapter 11 Case.

               10.7    Post-Effective Date Powers After the Effective Date, the powers of the

Debtor shall include, but not be limited to, the following:

               (a)     prepare and file appropriate federal, state, and local tax returns;

               (b)     prosecute and/or defend any matters concerning any tax-related matters,

including, but not limited to, any right of Debtor to receive a refund from any taxing authority;

               (c)     take any and all actions appropriate to enforce any provisions of this Plan,

any order of the Bankruptcy Court in this Chapter 11 case, or the Bankruptcy Code; and,

               (d)     engage professionals, as necessary, to perform and/or assist in the

performance of any of the aforementioned powers.

               10.8    Event of Default      An Event of Default shall occur if the Debtor fails to
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make any payment when due or shall fail to comply with any other material terms of this Plan

and written notice of same has been provided to the Debtor, its counsel, and the Bankruptcy

Court. Following an Event of Default, if such Default has not been cured within fifteen (15)

days thereafter, any holder of a Claim, payment of which is in Default, shall have the right to

commence an action against the Debtor in the Bankruptcy Court to compel payment.

Dated: Lindenhurst, New York
       June 19, 2018
                                      THIRTY WOODHOLLOW CT., INC.


                              By:     S/Anupam Sharma
                                      ANUPAM SHARMA, President




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